          Case 2:19-mc-03877-ECM Document 1 Filed 06/24/19 Page 1 of 2



                      IN THE DISTRICT COURT ORT      litt5 RATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN         gmgwv.4 P
                                                           4: 31
                                                 rtBRA P. HACKETT. CLK
UNITED STATES OF AMERICA,                          U.S. OiSTR1CT COURT
                                                ) tiiDDLE DiSTRICT ALA

                         Plaintiff,

                 v.                                    MISC NO.    a:fq- mr,_ n77-ecti
RENT-A-CENTER,
PLANO,TX,

                        Garnishee,

LEANDERSHAWN ADAMS,

                       Defendant.


                        APPLICATION FOR WRIT OF GARNISHMENT

       The United States of America makes application in accordance with 28 U.S.C. Section

3205(b)(1) to the Clerk of the United States District Court to issue a Writ of Garnishment upon

the Judgment in Criminal Case No. 2:17CR000101-003 entered against the defendant,

Leandershawn Adams; the last four digits of defendant's Social Security Number are XXX-XX-

2798; whose last known address is 2766 Mitchell Creek Road, Wetumpka, Alabama, in the above

cited action in the amount of $1,023,286.00, plus costs and interest. There is a balance due of

$1,023,261.00, as ofJune 24, 2019.

       Demand for payment of the above stated debt was made upon the debtor not less than 30

days from June 24, 2019, but defendant has failed to satisfy this debt.

       The Garnishee is believed to owe or will owe money to the judgment debtor, or is in

possession of property of the debtor, in which the debtor has a substantial non-exempt interest.
  Case 2:19-mc-03877-ECM Document 1 Filed 06/24/19 Page 2 of 2




The name and address ofthe Garnishee or his authorized agent is:

Rent-A-Center
5700 Tennyson Parkway
Plano, TX 75024



DATED: June 24,2019


                                   LOUIS V. FRANKLIN,SR.
                                   UNITED STATES ATTORNEY


                     BY:
                                                 od
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